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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                                BILLINGS DIVISION




  UNITED STATES OF AMERICA,
                                                   CR23-79-BLG-SPW
                       Plaintiff,

  vs.                                               ORDER


  ADOLFO VARGAS LEPE,

                       Defendant.



        Before the Court is Defendant Adolfo Vargas Lepe's Motion to Suppress.

(Doc. 52). Lepe is charged with three counts ofkidnapping in violation of 18 U.S.C.

§ 1201(a)(1), possession with intent to distribute controlled substances in violation

of 21 U.S.C. § 841(a)(1), and possession of a firearm in furtherance of a drug

trafficking crime in violation of 18 U.S.C. § 924(c)(l)(A)(ii)(Doc. 44). The drug

charges arise out of evidence found in the searches of Lepe's storage unit and

backpack. {See Doc. 53 at 4).

        Lepe moved to suppress the physical evidence obtained in both searches. (Id

at 2-4). The Government responded (Doc. 56), and Lepe replied (Doc. 58). A

motion hearing was held on April 24,2024,during which two witnesses,FBI Special

Agents Luke Smith and Wyatt Graber, testified. The Court finds the material facts
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